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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

EMANI LOVE, et al.,                     NO. 2:15-cv-11834

      Plaintiffs,                       HON. NANCY EDMUNDS

v                                       MAG. ELIZABETH A. STAFFORD

RUTH JOHNSON,

      Defendant.

AMERICAN CIVIL LIBERTIES                PROSKAUER ROSE LLP
 UNION FUND OF MICHIGAN                 Steven R. Gilford
Jay D. Kaplan (P38197)                  Michael F. Derksen
Daniel S. Korobkin (P72842)             Jacki L. Anderson
Michael J. Steinberg (P43085)           Attorneys for Plaintiffs
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AMERICAN CIVIL LIBERTIES                Erik A. Grill (P64713)
 UNION FOUNDATION                       Kevin Himebaugh (P53374)
John A. Knight                          Jeanmarie Miller (P44446)
Attorney for Plaintiffs                 Denise C. Barton (P41535)
180 North Michigan Avenue, Suite 2300   James E. Long (P53251)
Chicago, IL 60606                       Assistant Attorneys General
(312) 201-9740                          Attorneys for SOM Defendant Johnson
                                        Michigan Department of Attorney General
                                        Civil Litigation, Employment &
                                         Elections Division
                                        P.O. Box 30736
                                        Lansing, MI 48909
                                        (517) 373-6434

                                                                           /

        DEFENDANTS RUTH JOHNSON’S MOTION FOR
      JUDGMENT ON THE PLEADINGS ON GROUNDS OF
                     MOOTNESS
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       Defendant Ruth Johnson, through her attorneys, Bill Schuette,

 Attorney General for the State of Michigan and Erik A. Grill,

 Assistant Attorney General for the State of Michigan, and in support

 of her Motion to Dismiss pursuant to Fed. R. Civ. P. 12(c) states as

 follows:

       1.    Plaintiffs allege that they are transgender individuals

 seeking to change the sex designation on their state-issued

 drivers’ licenses.

       2.    Defendant Ruth Johnson is the elected Secretary of State

 for the State of Michigan.

       3.    Plaintiffs seek declaratory and injunctive relief.

       4.    For the reasons set forth in this brief, Plaintiffs’

 Complaint should be dismissed with prejudice.

       5.    Concurrence in this motion was sought on March 4, 2016,

 but concurrence was denied.
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                         RELIEF REQUESTED

      For these reasons and the reasons stated more fully in the

accompanying brief, Defendant Ruth Johnson respectfully requests

that this Honorable Court dismiss the claims against her in their

entirety, together with any other relief the Court determines to be

appropriate under the circumstances.




                                   Respectfully submitted,

                                   BILL SCHUETTE
                                   Attorney General

                                   /s/Erik A. Grill
                                   Erik A. Grill (P64713)
                                   Kevin Himebaugh (P53374)
                                   Jeanmarie Miller (P44446)
                                   Denise C. Barton (P41535)
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                                   grille@michigan.gov
Dated: March 10, 2016
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

EMANI LOVE, et al.,                     NO. 2:15-cv-11834

      Plaintiffs,                       HON. NANCY EDMUNDS

v                                       MAG. ELIZABETH A. STAFFORD

RUTH JOHNSON,

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                                                                           /
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           CONCISE STATEMENT OF ISSUES PRESENTED

      1.     Should this Court dismiss the Complaint for declaratory and
             injunctive relief as moot where, as here, the Michigan
             Secretary of State has updated its policy and now allows
             Plaintiffs to change their sex designation on their Michigan
             driver’s license without having to obtain an amended birth
             certificate?

             Defendant’s Answer:         “Yes”

     CONTROLLING OR MOST APPROPRIATE AUTHORITY

Authority:

      Ammex, Inc. v. Cox, 351 F3d 697 (6th Cir. 2003)




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                         STATEMENT OF FACTS

        Plaintiffs are six transgender individuals who challenge a former

Michigan Secretary of State policy that required them to submit an

amended birth certificate in order to change their sex designation on

their state-issued personal identification card (PID) or state-issued

driver’s license (DL). They contend that the Secretary of State’s policy,

to the extent that it did not allow for alternative ways to change the sex

designation on their PID or DL, violated their Constitutional rights,

including their right to privacy, freedom of speech, right to equal

protection, right to interstate travel, and right to refuse unwanted

medical treatment.

        Plaintiffs seek declaratory and injunctive relief so that they, as

transgender Michigan residents, “can obtain Michigan ID documents

that accurately reflect their gender identity.” (R. 1, Pg ID #6 Complaint,

¶ 11.

        On March 10, 2016, the Michigan Secretary of State updated its

policy as it relates to changing the sex designation on a state-issued

PID or DL. Effective March 10, 2016, the Secretary of State’s policy

provides that:


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            [A]n applicant may request to change the sex designation on
            their driver license or PID. The individual must provide any
            one of the following documents that show a sex other than
            currently designated on the drivers license or PID: a
            certified birth certificate, a valid US Passport, valid US
            Passport Card, or a court order changing the sex of the
            individual.

      With this updated policy in place, Plaintiffs are no longer required

to obtain an amended birth certificate as their only means to change

their sex designation on their PID or DL. Accordingly, for the reasons

more fully set forth in this Brief, the case warrants dismissal.

                               ARGUMENT

I.    A case can be moot where interim relief or events have
      completely eradicated the effects of the alleged violation
      and where the alleged violation is not expected to reoccur.
      The Secretary of State has voluntarily updated its policy to
      eliminate the gender reassignment requirement for
      individuals desiring to change their sex designation on
      their driver’s license. Is this case moot?


      Under Article III of the Constitution, a federal court’s jurisdiction

is limited to actual cases and controversies. Ammex, Inc. v. Cox, 351

F.3d 697, 704 (6th Cir. 2003)(internal quotations omitted)(quoting

McPherson v. Mich High Sch Athletic Ass’n., Inc, 119 F3d 453, 458 (6th

Cir. 1997) (en banc)). While a defendant’s voluntary cessation of a

challenged practice does not deprive a federal court of its power to

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determine whether that practice was constitutional, it can moot a case

“if subsequent events make it absolutely clear that the allegedly

wrongful behavior could not reasonably be expected to recur.” Friends

of the Earth, Inc. v. Laidlaw Envtl Servs (TOC) Inc., 528 U.S. 167, 189

(2000). A case can be moot where interim relief or events have

completely and irrevocably eradicated the effects of the alleged

violation. County of Los Angeles v. Davis, 440 U.S. 625, 631 (1979). An

appeal is moot in the constitutional sense where the events that have

transpired during the pendency of the appeal make it “‘impossible for

the courts to grant any effectual relief whatever . . . .’’’ Church of

Scientology of California v. United States, 506 U.S. 9, 12 (1992). The

Sixth Circuit has noted that “‘cessation of the allegedly illegal conduct

by government officials has been treated with more solicitude by the

courts than similar action by private parties.’” Ammex, 351 F.3d at 705

(quoting Mosely v. Hairston, 920 F.2d 409, 415 (6th Cir. 1990)). The

burden of demonstrating mootness rests on the party claiming

mootness. Friends of the Earth, 528 U.S. at 189.

      Under this legal standard, this Court should dismiss Plaintiffs’

 case on grounds of mootness. There is no need for injunctive or


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 declaratory relief here, where such relief would not serve a useful

 purpose in clarifying the legal relations at issue, or where there is an

 alternative remedy that is better. Grand Trunk Western RR Co v.

 Consolidated Rail Corp., 746 F.2d 323, 326 (6th Cir. 1984) (citing 6A

 Moore’s Federal practice para 57.08 (1983)).

      Defendant Ruth Johnson has remedied any alleged constitutional

 violation by voluntarily abandoning the requirement to provide a

 certified birth certificate as proof to change to an individual’s sex

 designation on his or her DL or PID. Under this new policy, Defendant

 Ruth Johnson will accept a passport or a passport card issued by the

 federal government, or a court order issued by a court of competent

 jurisdiction, in order to change an applicant’s sex designation. Simply

 stated, surgery is no longer required under this policy.

      Plaintiffs concede that the United States Department of State

 imposes reasonable and not burdensome requirements in order for an

 individual to change his or her sex designation on a passport or

 passport card. (R. 1, Complaint, Pg ID # 16, 17 ¶¶45(a) and (c)). The

 federal government requires a medical provider’s certification in order

 to accomplish this change—


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 http://travel.state.gov/content/passports/en/passports/information/gend

 er.html. A passport card for new applicants can be obtained at a

 relatively low cost, estimated to be less than $60.00—

 http://travel.state.gov/content/passports/en/passports/information/fees.

 html. So the cost is not burdensome. This updated policy also

 understandably includes a provision recognizing a change in an

 individual’s sex designation accomplished by way of a court order. It is

 well-settled that courts speak through their orders, and the Secretary’s

 updated policy makes this point crystal clear.

      Defendant Ruth Johnson has demonstrated that there is no

 reasonable likelihood that she will return to the previous policy. The

 policy change has been implemented in the ordinary course of business.

 The Sixth Circuit Court has recognized that self-correction by

 government officials “provides a secure foundation for dismissal based

 on mootness so long as it appears genuine.” Mosley v. Hairston, 920

 F.2d 409, 415 (6th Cir. 1990) (citing 13A Charles Alan Wright, Arthur

 R. Miller & Edward H. Cooper, Federal Practice and Procedure §

 3533,7 (2d ed 1984)).




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      In Brandywine v. Richmond, the Sixth Circuit Court held that the

defendant City of Richmond’s passage of an amendment to a

development ordinance provided sufficient assurance that the earlier

amendment would not be re-enacted, especially since no threat was

made to re-enact the offending legislation. Brandywine v. Richmond,

359 F.3d 830, 836 (6th Cir. 2004) (citing Kentucky Right to Life, Inc. v.

Terry, 108 F.3d 637, 645 (6th Cir. 1997)). Defendant Ruth Johnson has

announced, through her staff, that the Department of State has

changed its policy, further demonstrating that the challenged action

will not occur and that additional enforcement action is unnecessary.

See Iron Arrow Honor Society v. Heckler, 464 U.S. 67, 69-70 (1983)

(holding that a third party non-defendant university’s letter to the

courts and members of an all-male organization stating that the society

could return as a university organization only if it complied with

nondiscrimination policies, was sufficient to demonstrate that

additional enforcement actions were not needed, and mooted the case).

      In addition, because this updated policy gives Plaintiffs the relief

they sought in their Complaint, there is no further effective relief to be




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granted by this Court. The allegedly wrongful behavior could not,

therefore, reasonably be expected to recur.

      Accordingly, this Court should grant Defendant’s motion for

judgment on the pleadings on the basis of mootness.


             CONCLUSION AND RELIEF REQUESTED

      WHEREFORE, Defendant Ruth Johnson respectfully requests

that this Court dismiss the Plaintiffs’ Complaint with prejudice.

                                    Respectfully submitted,

                                    BILL SCHUETTE
                                    Attorney General

                                    /s/Erik A. Grill
                                    Erik A. Grill (P64713)
                                    Kevin Himebaugh (P53374)
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Dated: March 10, 2016




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                      CERTIFICATE OF SERVICE

      I hereby certify that on March 10, 2016, I electronically filed the
foregoing paper with the Clerk of the Court using the ECF system
which will send notification of such filing of the foregoing document as
well as via U.S. Mail to all non-ECF participants.

                                    /s/Erik A. Grill
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